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CLERK OF COURT

IN THE CIRCUIT COURT OF SHELBY COUNTY, TENNESSEE
FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS

 

 

DELOIS CHAMBERS and
MICHEAL CHAMBERS
Plaintiffs,
Bocket No.
vs. Division
JURY DEMANDED
DWIGHT WALKER and,
CAL-ARK INTERNATIONAL, INC.
Defendants.
COMPLAINT

 

Plaintiffs, Delois Chambers and Micheal Chambers, by and through counsel, hereby files
this Complaint against Defendants, Dwight Walker and Cal-Ark International Inc., for personal
injuries and damages and would respectfully state as follows:

PARTIES, JURISDICTION, AND VENUE

1. Plaintiffs, Delois Chambers and Micheal Chambers, are a married couple and adult
tesidents of Memphis, Shelby County, Tennessee.

2. Upon information and belief, Defendant, Dwight Walker, at all relevant times, is an adult
resident of Pine Bluff, Arkansas residing at 2507 S. Taft Street, Pine Bluff, Arkansas
71603.

3. Upon information and belief, Defendant, Dwight Walker, at all relevant times, may be
served at 2507 S. Taft Street, Pine Bluff, Arkansas 71603.

4, Upon information and belief, Defendant, Cal-Ark International Inc., is a Texas corporation,

doing business in Tennessee at 15614 Highway 13 S, Hurricane Mills, Tennessee 37078
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and headquartered in Little Rock, Arkansas. Cal-Ark International Inc. may be served with
process through its registered agent, CFB Liquidation, LLC at 118 Lee Parkway Dr.,
Chattanooga, Tennessee 37421.

5. The incident that forms the basis of this suit occurred in Shelby County, Tennessee, thus
this Court has personal jurisdiction over the parties and venue is proper in this county.

6. This action arises in tort out of personal injuries and damages incurred as a result of an
automobile collision that occurred in Shelby County, Tennessee on or about October 27,
2017

7. This Honorable Court has subject matter jurisdiction over this claim and personal
jurisdiction over the parties.

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8. Upon information and belief, Plaintiffs alleges that, at all times material hereto, including
October 27, 2017, Defendant, Dwight Walker, was an authorized driver of the 2016 T680
Kenworth, (VIN 1XKYD49X4GJ125672; TN license plate number C083HZ) which was
involved in the accident with Plaintiff on October 27, 2017.

9. Upon information and belief, Plaintiffs alleges that on or about October 27, 2017,
Defendant, Dwight Walker, was operating the above-referenced 2016 Kenworth, as the
agent, servant and/or employee of Defendant, Cal-Ark International Inc. Thus, Plaintiffs
relies upon § 55-10-311 and § 55-10-312 of the Tennessee Code Annotated and the
doctrines of respondeat superior and agency, alleging that any negligence on the part of

Defendant, Dwight Walker, should be imputed to Defendant, Cal-Ark International Inc..
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10. On or about October 27, 2017, Plaintiff, Delois Chambers, was the driver and owner of a
2016 Hyundai Elantra (VIN KMHDH4AE1GU607423; TN license plate number
W9109G), and was travelling westbound on Interstate 40 in the right lane/ lane number 1.

11. At all times pertinent hereto, the Plaintiff, Delois Chambers, was operating the vehicle in a
safe, cautious, and prudent manner, obeying all of the rules and regulations of the roadway.

12, At said time and at said location, Defendant, Dwight Walker, was operating the
aforementioned 2016 Kenworth and was travelling westbound on Interstate 40 in the left
lane/lane number 2, when the Defendant attempted to merge into the Plaintiff's lane.

13. Defendant, Dwight Walker, caused his vehicle to collide into the Plaintiff Delois
Chamber’s vehicle.

14. Defendant, Dwight Walker, negligently failed to use reasonable caution in the operation of
his vehicle by failing to exercise due care and by impeding the normal and reasonable
movement of traffic.

15. As a direct and proximate result of the Defendants’ negligent acts, Plaintiff, Delois
Chambers, sustained personal injuries and other damages to be more particularly described
hereinafter.

NEGLIGENT ACTS AND/OR OMISSIONS

16. Plaintiffs incorporate paragraphs 1 through 15 as if restated here verbatim.

17. Plaintiff, Delois Chambers, did not have sufficient time or space to avoid the collision and,
as a direct and proximate result of the negligent acts of the Defendant, sustained personal

injuries and other damages.
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18, Plaintiffs charges and alleges that Defendant is guilty of the following acts and/or
omissions of common law negligence, which were a direct and proximate cause of
Plaintiffs’ injuries and resulting damages to wit:

(a} In negligently failing to use that degree of care and caution in the operation of his
commercial vehicle as was required of a reasonable and prudent person under the
same or similar circumstances existing at the time and place of the
aforementioned collision;

(b)  Innegligently failing to maintain a safe lookout;

(c) In negligently failing to devote full time and attention to the operation of his
commercial vehicle;

(d) _—_‘ Failing to see what was there to be seen;

()) Failing to maintain control of said commercial vehicle;

(f) Impeding the normal and reasonable movement of traffic;

(g) Driving in a careless manner;

(h) Other acts and/or omissions to be shown at the trial of this cause,
NEGLIGENCE PER SE

19. Plaintiffs incorporate paragraphs 1 through 18 as if restated here verbatim.

20. Plaintiffs charge and allege that Defendant, Dwight Walker, was in violation of the
following statutes of the State of Tennessee, which were in full force and effect at the time
and place of the collision and which constitutes as negligence per se, to wit:

Section 55-8-136. Due Care

(b) Notwithstanding any speed limit or zone in effect at the time, or right of way
rules that may be applicable, every driver of a motor vehicle shall exercise due
care to avoid colliding with any other motor vehicle, either being driven or legally
parked, upon any roadway, or any road sign, guard rail or any fixed object legally
placed within or beside the roadway right of way, by operating such motor vehicle
at a safe speed, by maintaining a safe lookout, by keeping such motor vehicle

under proper control and by devoting full time and attention to operating such
motor vehicle, under the existing circumstances to avoid endangering life, limb,

or property.
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Section 55-10-205. Reckless driving
(a) Any person who drives any vehicle in willful or wanton disregard for the

safety of persons or property commits reckless driving.

Section 55-8-123. Driving on roadways laned for traffic

Whenever any roadway has been divided into two (2) or more clearly marked
lanes for traffic, the foltowing rules, in addition to all others consistent with this
section, shall apply:

(1) A vehicle shall be driven as nearly as practicable entirely within a single lane
and shail not be moved from that lane until the driver has first ascertained that the
movement can be made with safety;

Section 55-8-143. Signels for turns
(a) Every driver who intends to start, stop or turn, or partly turn from a direct line,

shall first see that that movement can be made in safety, and whenever the
operation of any other vehicle may be affected by such movement, shall give a
signal required in this section, plainly visible to the driver of the other vehicle of
the intention to make such movement.

21. Plaintiffs charge and allege that Defendant, Dwight Walker, was in violation of the following
City of Memphis Ordinances, which were in full force and effect at the time and place of the

collision and constitutes negligence per se, to wit:

Section 11-16-2. Duty to devote full time and attention to operating vehicle
It shall be unlawful for a driver of a vehicle to fail to devote full time to the

driving of said vehicle when such failure, under the then existing circumstances,
endangers life, limb or property.

 

  

Section 11-16-3. Duty to drive at safe speed, maintain jookow

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Notwithstanding any speed limit or zone in effect at the time, or right-of-way
tules that may be applicable, ever driver shall:

(1) Operate his vehicle at a safe speed;

(2) Maintain a safe lookout;

(3) Use due care to keep his vehicle under control,
Section 11-15-44. Reckless driving

Any person who drives any vehicle in a willful or wanton disregard for the safety
of persons or property is guilty of reckless driving.

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NEGLIGENT HIRING, SUPERVISIGN, AND TRAINING
22. Plaintiffs incorporate paragraphs 1 through 21 as if restated here verbatim.

23, Plaintiffs alleges, upon information and belief, that Defendant, Cal-Ark International
Inc., knew, or in the exercise of due diligence and reasonable inquiry, should have known
of Defendant’s, Dwight Walker, propensity and proclivity to drive in an illegal, unlawful,
negligent and/or reckless manner.

24, Plaintiffs alleges that Defendant, Cal-Ark International Inc., is guilty of the following
acts and/or omissions of common law negligence, which were a direct and proximate
cause of Plaintiff's injuries and resulting damages, to wit:

(a) Negligent training of Defendant, Dwight Walker;

(b) Negligent supervision of Defendant, Dwight Walker;

(c) Negligent hiring of Defendant, Dwight Walker;

(d) Other acts and/or omissions to be shown at the trial of this cause.
NEGLIGENT ENTRUSTMENT

25, Plaintiffs incorporate paragraphs 1 through 24 as if restated here verbatim.

26. Plaintiffs allege, upon information and belief, that Defendant, Cal-Ark International Inc.,
or in the exercise of due diligence and reasonable inquiry, should have known of
Defendant Dwight Walker’s propensity and proclivity to drive in an illegal, unlawful,
negligent and/or reckless manner.

27. Plaintiffs allege that Defendant Cal-Ark International Inc., is guilty of the following acts
and/or omissions of common law negligence, which were a direct and proximate cause of
Plaintiff's injuries and resulting damages, to wit:

(a) Negligent entrustment of the subject vehicle to Defendant, Dwight

Walker;
(b} Other acts and/or omissions to be shown at the trial of this cause.
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INJURIES AND DAMAGES

28. Plaintiffs incorporate paragraphs 1 through 27 as if restated here verbatim.

29. As a direct and proximate result of the above-described violations of the common Jaw
and state statutes by Defendants, Plaintiff, Delois Chambers, sustained multiple serious
and disabling injuries to her body as a whole, including but not limited to, injuries to her
right hand, right shoulder, right arm, abdomen, shock and fright.

30. Plaintiff, Delois Chambers, has endured pain and suffering and will continue to endure
pain and suffering from the injuries arising out of the subject collision,

31. Plaintiff, Delois Chambers, has incurred reasonable and necessary medical expenses in
order to alleviate her pain and suffering and will continue to incur said expenses in the
future.

32. Plaintiff, Delois Chambers, has sustained mental anguish and a loss of enjoyment of life
as a result of the subject collision, past, present, and future.

33. Plaintiff, Delois Chambers, has sustained inconvenience as a result of the subject
collision, past, present, and future.

34. Plaintiff, Delois Chambers, has sustained other damages to be determined at a trial of this
cause of action as a result of the subject collision, past, present, and future.

35. As a direct and proximate result of the above-described breaches of duties and negligent,
reckless, and/or intentional acts by Defendants, Plaintiff, Micheal Chambers,
individually, seeks damages for the loss of the society, affection, companionship, and

consortium of his wife.
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36. Because of the injuries proximately caused by Defendants’ negligence, Plaintiff, Micheal
Chambers is entitled to reasonable and proper compensation for the following legal
damages:

(a) Loss of consortium of his wife, Delois Chambers.

PRAYER FOR RELIEF

WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully sues Defendants,
Dwight Walker and Cal-Ark Intemational Inc., for a reasonable amount of restitution and
compensation for damages to be determined by twelve honorable and good citizens of Shelby
County for the sum of Four Hundred Thousand Dollars ($400,000.00).

WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays for damages
as they may appear on the trial of this cause, reserving the right to amend this pleading to
conform to the facts as they may develop, for cost and interest, and for all other general relief

justified by the facts under the law or equity.

Respectfully submitted,
REAVES LAW FIRM, PLLC

 

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